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UNITED STATES DISTRICT COURT h
WESTERN DISTRICT oF TENNESSEE 523 fith 23 in 31 5
Western Division
UNITED STATES OF AMERICA

-vs- Case No. 2 :05cr203 03-B

LORENZO DAVIS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, AUGUST 25, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Cou rtroom M-3, 9‘h Floor, United States Courthouse and Federal Building, 167 North
Main, Mernphis, TN. Pending this heating, the defendant shall be held in custody by the United
States Marshal and produced for the hearing.

"_-_-_-_-_-__._
Date: August 22, 2005 \AMQ/\_'

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

‘1f not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(1")(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142()‘) are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attomey for the government or upon the judicial oft'leer's own motion, if there is a serious risk that the
defendant (a) will fl ee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or j uror.

AO 470 (B!BS) Order cf Temporary Detentlon 'n Compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20303 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

PDA

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Honorable .l. Breen
US DISTRICT COURT

